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                             Exhibit B

                           Proposed Order
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

    IN RE:                                                     §
                                                               §          CASE NO. 21-32155 (MI)
    BUCKINGHAM SENIOR LIVING                                   §
    COMMUNITY, INC. 1                                          §          CHAPTER 11
                                                               §
             Debtor.                                           §          Re: Dkt. No. __
                                                               §

    ORDER GRANTING EMERGENCY MOTION OF THE DEBTOR FOR AN ORDER
    AUTHORIZING THE DEBTOR TO ESCROW CERTAIN ENTRANCE FEES AND
                   REFUND CERTAIN ENTRANCE FEES

           Having considered Buckingham Senior Living Community, Inc.’s (“The Buckingham” or

the “Debtor”) Emergency Motion of the Debtor for an Order Authorizing the Debtor to (i) Escrow

Post-Petition Entrance Fees, and (ii) Refund Certain Entrance Fees (the “Motion”),2 and the

evidence and arguments presented at the hearing, the Court finds that: (a) jurisdiction over the

matters in the Motion is proper pursuant to 28 U.S.C. § 157(a); (b) venue is proper in this Court

pursuant to 28 U.S.C. §§ 1408 and 1409; (c) proper and adequate notice of the Motion has been

provided and no further notice is needed; (d) the relief sought in the Motion is in the best interest

of the Debtor’s estate, its creditors, and all parties-in-interest; and (e) good and sufficient cause

exists for granting the relief requested in the Motion. Accordingly, it is

           ORDERED the Motion is GRANTED. It is further

           ORDERED that the Debtor is:

                    (a)      authorized to enter into the Escrow Agreement;



1 The last four digits of the Debtor’s federal tax identification number are: 7872. The location of the Debtor’s principal
place of business and the service address for the Debtor is: 8580 Woodway Drive Houston, Texas 77063.

2   All capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.


ORDER GRANTING ENTRANCE FEE ESCROW AND REFUND MOTION                                                             PAGE 1
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                   (b)     authorized to deposit all entrance fees (the “Entrance Fees”) collected post-
                           petition in connection with any and all life care agreements (the “Residence
                           Agreements”) into an escrow account (the “Escrow Account”) maintained
                           by Regions Bank (the “Escrow Agent”), where such Entrance Fees shall
                           remain until the occurrence of a Refund Event (as defined below), or until
                           their release is authorized pursuant to further order of this Court;

                   (c)     authorized to amend the form of any new Residence Agreement with an
                           addendum providing that residents who enter the facility post-petition
                           (a “New Resident”) shall be entitled to refunds of their respective Entrance
                           Fees, to the extent deposited in the Escrow Account, if during the pendency
                           of this Case such New Resident becomes entitled to a refund of all or a
                           portion of his or her Entrance Fee.

         It is further ORDERED that the Escrow Agent is:

                   (a) authorized to return Entrance Fees in the Escrow Account to the New Resident
                       who made such payment to the extent (each, a “Refund Event”):

                           (1)    the New Resident is entitled to such a refund under his or her
                                  Residence Agreement; or

                           (2)    the Facility closes.

         It is further ORDERED that nothing contained in the Motion or this Order shall be deemed

as (a) an assumption, adoption, or rejection or any agreement, contract, or lease under section 365

of the Bankruptcy Code; (b) an admission that any agreement, contract or lease is an executory

contract or unexpired lease as contemplated under section 365 of the Bankruptcy Code; or (c) a

waiver of any Debtors’ or any other party in interest’s rights under the Bankruptcy Code or any

other applicable law. It is further

         ORDERED that, notwithstanding anything to the contrary in this Order or the Motion, any

payment, obligations, or other relief authorized by this Order shall be subject to the terms,

conditions, and limitations of the order of this Court approving any debtor in possession financing

and cash collateral use, including any budget in connection therewith. It is further

         ORDERED that, notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of

this Order shall be effective immediately and enforceable upon its entry.                 It is further


ORDER GRANTING ENTRANCE FEE ESCROW AND REFUND MOTION                                             PAGE 2
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          ORDERED that Federal Rule of Bankruptcy Procedure 6003(b) has been satisfied because

the relief requested in the Motion is necessary to avoid immediate and irreparable harm. It is

further

          ORDERED that the Debtor, and its officers, employees, and agents, are authorized to take

or refrain from taking such acts as are necessary and appropriate to implement and effectuate the

relief requested herein. It is further

          ORDERED that, notwithstanding anything herein, the Debtor must comply with all

applicable laws regarding the escrow of Entrance Fees. It is further

          ORDERED that this Court shall retain jurisdiction over all matters arising from or related

to the interpretation and implementation of this Order. It is further


SIGNED this _____ day of _____________, 2021.



                                               THE HONORABLE MARVIN ISGUR
                                               UNITED STATES BANKRUPTCY JUDGE




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